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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                               i..;   :   ',_.



                      Plaintiff,
                                                                    4:17CR 3 \~L\
       vs.
                                                                 INDICTMENT
JAMIE R. LAASS,                                                 18 U.S.C. § 1343

                      Defendant.

                                       COUNTS I-XV

       1.     From on or about July 30, 2009, and continuing to on or about April 19, 2016,

JAMIE R. LAASS, the Defendant herein, devised and intended to devise a scheme and artifice to

defraud and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises from Doering Trenching & Plumbing.

       2.     It was part of the scheme and artifice that JAMIE R. LAASS served as bookkeeper

for Doering Trenching & Plumbing, and its owner. During the course of the scheme, as part of

her duties as bookkeeper, JAMIE R. LAASS was given use of Commercial State Bank Visa card,

card no. ::XXXX-XXXX-XXXX-8081, the full number known to the Grand Jury, in the name of

Doering Trenching & Plumbing. The credit card was billed to Doering Trenching & Plumbing at

the business address of Doering Trenching & Plumbing in Bloomfield, Nebraska. JAMIE R.

LAASS was provided the credit card for the exclusive purpose of paying for office expenditures.

JAMIE R. LAASS was not authorized by Doering Trenching & Plumbing, to use the credit card

for her personal expenses for herself or the expenses of others. All charges made on any Visa

credit card are processed through electronic and wire communication through the Visa processing

center in Fargo, North Dakota, and payments are processed through the Payment center in St.

Louis, Missouri.

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       3.      It was further part of the scheme that, JAMIE R. LAASS without the consent of the

Doering Trenching & Plumbing, made unauthorized charges to the Commercial State Bank Visa

card, card no. XXXX-XXXX-XXXX-8081, to pay for personal expenses for herself and personal

expenses of others. By making such credit card charges, JAMIE R. LAASS represented to vendors

that she had authority to make the purchase of a personal expense, when in truth and fact, as known

by JAMIE R. LAASS, she was not authorized by the owner of Doering Trenching & Plumbing to

use the Visa credit card for the purchase of personal items. It was further part of the scheme that

JAMIE R. LAASS would execute bank card checks charged on the credit card account for card

no. XXXX-XXXX-XXXX-8081, in order to receive funds from the credit card account in the

name of Doering Trenching & Plumbing, without the knowledge or consent of Doering Trenching

& Plumbing, or its owner. It was further part of the scheme that JAMIE R. LAASS would then

pay for these unauthorized personal credit card charges by using the proceeds of Doering

Trenching & Plumbing, and its owner, knowing that various credit card charges were not

authorized or consented to by Doering Trenching & Plumbing, or its owner. During the course of

the scheme, JAMIE R. LAASS, charged over $200,000 in personal expenses and bank check

charges without the authorization or consent of Doering Trenching & Plumbing, or its owner.

       4.      On or about the dates set forth below, in the District of Nebraska and elsewhere,

JAMIE R. LAASS, having devised a scheme and artifice to defraud and obtain money and property

by means of materially false and fraudulent pretenses, representations, and promises, set forth

above, and for the purpose of executing the scheme and artifice to defraud and obtain money, did

knowingly cause to be transmitted in interstate and foreign commerce, by means of a wire

communication, that is a wire transmission, certain signs, signals, and sounds as set forth below:




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COUNT            DATE                          COMMUNICATION
  I      December 10, 2012       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Hy-Vee, in
                                 the amount $378.01.
  II     December 10, 2012       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Hy-Vee, in
                                 the amount $378.01.
 III     March 6, 2013           Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Wal-Mart, in
                                 the amount $379.08.
 IV      March 20, 2013          Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Lieber's
                                 Garage, in the amount of $1,021.21.
  v      August 10, 2013         Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Cable One,
                                 Inc., in the amount of $153.61.
 VI      October 22, 2013        Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing, Bank Card
                                 Check #81686, in the amount of $1,500.00.
 VII     December 13, 2013       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Callaway
                                 Rolloffs Mini, the amount of $1,497.08.
 VIII    December 16, 2013       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Dr. Joseph
                                 Aitken, in the amount of $489.00.
 IX      February 10, 2014       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing, Bank Card
                                 Check #85056, in the amount of $1,200.00.
  x      February 20, 2014       Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing, to Cable One,
                                 Inc, in the amount of $1,~QQ,.Oo.{; S- J, 6 I s It..
 XI      April 17, 2014          Credit charge on Visa credit card, card no.
                                 XXXX-XXXX-XXXX-8081, in the name of
                                 Doering Trenching & Plumbing to Wal-Mart, in
                                 the amount $181.90.

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      XII        May 20, 2014                 Credit charge on Visa credit card, card no.
                                              XXXX-XXXX-XXXX-8081, in the name of
                                              Doering Trenching & Plumbing to Hy-Vee, in
                                              the amount $378.01.
      XIII       September 3, 2014            Credit charge on Visa credit card, card no.
                                              XXXX-XXXX-XXXX-8081, in the name of
                                              Doering Trenching & Plumbing to Nebraska
                                              Department of Motor Vehicles, in the amount
                                              $627.79.
      XIV        Februar)r 17, 2015           Credit charge on Visa credit card, card no.
                                              XX:XX-:XXXX-:XXXX-8081, in the name of
                                              Doering Trenching & Plumbing to Dr. Joseph
                                              Aitken, in the amount of$340.00. ·
      xv         May 13, 2015                 Credit charge on Visa credit card, card no.
                                              XX:XX-XXXX-XXXX-8081, in the name of
                                              Doering Trenching & Plumbing to Dr. Joseph
                                              Aitken, in the amount of$2,625.00.

       In violation of Title 18, United States Code, Section 1343.

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       The United States of America requests that trial of this case be held in Lin~o~, Nebraska,

pmsuant to the rules of this Court.




                                            By:     STEVEN A. RUSSELL, #16925
                                                    AssistaJ.lt United States Attorney




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